Case 1:17-cv-OO721-EAW Document 83 Filed 02/09/18 Page 1 of 30

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 

 

HANAD ABDI and JOHAN BARRIGS RAMOS,
on behalf of himself and all other similarly situated,
DECISION AND ORDER
Petitioners,
v. l:l7-CV-0721 EAW

KIRSTJEN NIELSEN,l in her official capacity as
Secretary of U.S. Department of Homeland Security;
THOMAS BROPHY, in his official capacity as Acting
Director of Buffalo Field Offlce of lmmigration and
Customs Enforcement; JEFFREY SEARLS, in his
official Capacity as Acting Administrator of the
Buffalo Federal Detention Facility; and JEFFERSON
SESSIONS, in his official capacity as Attorney
General of the United States,

Respondents.

 

PROCEDURAL BACKGROUND
Petitioners Hanad Abdi (“Abdi”) and Johan Barrios Ramos (“Barrios Ramos”)
brought this action seeking relief on behalf of themselves individually and on behalf of a
proposed class of similarly situated asylum-seekers held at the Buffalo Federal Detention
Facility in Batavia, New York. (Dkt. l7). On November l7, 2017, the Court issued a
Decision and Order denying Respondents’ motion to dismiss and granting Petitioners’
motion for a preliminary injunction (the “November l7, 2017, Decision”). (Dkt. 56). The

Court ordered Respondents to immediately adjudicate or readjudicate the parole

 

l Kirstjen Nielsen is the current United States Secretary of Homeland Security.
Accordingly, she is substituted as a respondent in this action. See Fed. R. Civ. P. 25(d).

_1_

Case 1:17-cv-OO721-EAW Document 83 Filed 02/09/18 Page 2 of 30

applications of all members of the putative class of asylum-seekers detained at the Buffalo
Federal Detention Facility in conformance with their legal obligations, including their
obligations under ICE Directive No. 11002.1: Parole of Arrl`ving Aliens Found to Have a
Crea’ible Fear of Persecution or Torture (Dec. 8, 2009) (the “ICE Directive”). (Id. at 65).
The Court also ordered Respondents to provide individualized bond hearings to members
of the putative subclass who have been detained for six months or more, as required by 78
U.S.C. § 1225(b). (Ia'. at 66). Familiarity with the November l7, 2017, Decision is
presumed for purposes of this Decision and Order.

Thereafter, on December 19, 2017, the Court issued a Decision and Order granting
Petitioners’ motion for class certification (Dkt. 66). Specifically, the Court defined the
certified class as follows: “All arriving asylum-seekers who have passed a credible fear
interview and who are or will be detained at the Buffalo Federal Detention Facility and
who have not been granted parole.” (Ia’. at 23). The Court also defined the certified
subclass as follows: “All arriving asylum-seekers who are or will be detained at the Buffalo
Federal Detention Facility, have passed a credible fear interview, and have been detained
for more than six months without a bond hearing before an immigration judge.” (Ia'.).

On January 8, 2018, Petitioners filed a motion to clarify the preliminary injunction
(Dkt. 67), and a motion to expedite consideration of their motion to clarify (Dkt. 68). The
Court granted, in part, Petitioners’ motion to expedite, setting a briefing schedule for
response and reply papers as well as a motion hearing date of January 26, 2018. (Dkt. 73).
On January ll, 2018, Respondents filed an interlocutory appeal from this Court’s

November l7, 2017, Decision. (Dkt. 74). Respondents have since submitted response

_2_

Case 1:17-cv-OO721-EAW Document 83 Filed 02/09/18 Page 3 of 30

papers in opposition to Petitioners’ motion to clarify (Dkt. 76), and Petitioners have
submitted reply papers (Dkt. 78). On January 26, 2018, the Court held argument on the
motion to clarify and reserved decision.

During oral argument, Respondents contended that the Court should not decide the
motion without reviewing transcripts of the bond proceedings held before the Immigration
Judges (“IJ”), which Respondents had neither submitted nor prepared in connection with
this motion. The Court granted Respondents an opportunity to file a supplemental
submission containing these transcripts The Court has since received and reviewed the
transcripts of the bond hearings of five subclass members.

Before turning to the substantive issues raised by Petitioners’ motion for
clarification, the Court emphasizes the narrow scope of Petitioners’ motion. Petitioners do
not argue that any particular subclass member is entitled to alternative conditions of release
or a reduction in the amount of bond. The sole question put to this Court is whether the
November l7, 2017, Decision requires an IJ conducting a Lora-style bond hearing to
consider alternative conditions of release and a detainee’s ability to pay in setting bond
after determining that release of the subclass member is appropriate The Court answers
that question in the affirmative, and, for the following reasons, the motion to clarify the

preliminary injunction (Dkt. 67) is granted.

Case 1:17-cv-OO721-EAW Document 83 Filed 02/09/18 Page 4 of 30

DISCUSSION

I. Jurisdiction Pending Interlocutorv Appeal

The Court first addresses its jurisdiction to entertain Petitioners’ motion in view of
Respondents’ pending appeal. “Generally, the filing of an effective notice of appeal divests
the court of jurisdiction over the case.” Exp.-Imp. Bank of Republic of China v. Cent. Bank
ofLiberia, No. 1:15-CV-09565 (ALC), 2017 WL 6398726, at *2 (S.D.N.Y. Dec. 13, 2017)
(citing Negron v. United States, 394 F. App’x 788, 792 (2d Cir. 2010)). “[G]nce a notice
of appeal has been filed, a district court . . . may not ‘adjudicate substantial rights directly
involved in the appeal.”’ Int’l Ass ’n of Machinists & Aerospace Workers, AFL-CIO v. E.
Air Lines, lnc., 847 F.2d 1014, 1017 (2d Cir. 1988) (quoting Newton v. Consol. Gas Co.,
258 U.S. 165, 177 (1922)). However, “[a] trial court has a long established right to make
orders appropriate to preserve the status quo while a case is pending on appeal. This right
is codified by Fed. R. Civ. P. 62(c).” Barringer v. Grz'ffes, 810 F. Supp. 119, 120 (D. Vt.
1992) (citation and footnote omitted); see Cullman Ventures, Inc. v. Columb.ian Art Works,
Inc., No. 89 CIV. 312(KC), 1989 WL 94902, at *3 (S.D.N.Y. July 28, 1989) (“[T]his Court
has jurisdiction, notwithstanding the Notice of Appeal, to supervise the enforcement of its
injunction and to preserve the status quo pending appeal.”); 11 Charles A. Wright, et al.,
Federal Practice & Procedure § 2904, at 675 (3d ed. 2012) (stating that Rule 62(c) “codifies
the inherent power of courts to make whatever order is deemed necessary to preserve the
status quo and to ensure the effectiveness of the eventual judgment”).

Rule 62(c) of the Federal Rules of Civil Procedure provides that “[w]hile an appeal

is pending from an interlocutory order or final judgment that grants, dissolves, or denies

-4-

Case 1:17-cv-00721-EAW Document 83 Filed 02/09/18 Page 5 of 30

an injunction, the court may suspend, modify, restore, or grant an injunction on terms for
bond or other terms that secure the opposing party’s rights.” “The district court’s power
to modify an injunction to preserve the status quo necessarily includes the lesser power to

95

clarify the injunction to supervise compliance. Wash. Metro. Area Transit Comm’n v.
Reliable Limousine Serv., LLC, 985 F. Supp. 2d 23, 29 (D.D.C. 2013); see Meinhold v.
U.S. Dep ’t of Def. , 34 F.3d 1469, 1480 n. 14 (9th Cir. 1994) (“[The defendant] also contends
that the district court lacked jurisdiction to issue its amended order, which broadened the
scope of injunctive relief, because an appeal had already been taken from the original order.
As the district court issued the amended order to clarify its original injunction and to
supervise compliance in the wake of [the plaintiff]’s motion for contempt, it did not lack
jurisdiction.”).

Although the parties’ submissions do not discuss the effect of Respondents’
interlocutory appeal on this Court’s jurisdiction to entertain Petitioners’ motion to clarify,
the Court finds that it has jurisdiction to resolve Petitioners’ motion pursuant to its intrinsic
authority to supervise compliance with its original order, and “to ensure the effectiveness
of the eventual judgment.” Wright, et al., § 2904, at 675; see Wash. Metro. Area Transit
Comm ’n, 985 F. Supp. 2d at 29; Cullman Ventures, Inc., 1989 WL 94902, at *3; see also
Does 1-10 v. Univ. ofWash., No. C16-1212JLR, 2018 WL 453451, at *2 (W.D. Wash. Jan.
17, 2018) (applying Rule 62(c) to a motion to clarify). As will be discussed below,
Petitioners’ motion to clarify does not raise new claims, but rather seeks clarification of
the scope and effect of the Court’s November l7, 2017, Decision. (Dkt. 67). Whether the

Court’s original order requires an IJ to consider the financial circumstances of each

-5_

Case 1:17-cv-00721-EAW Document 83 Filed 02/09/18 Page 6 of 30

subclass member or alternatives to detention so as to properly effectuate the injunctive
relief granted therein is a question fully within this Court’s jurisdiction to answer in order
“to supervise the enforcement of its injunction and to preserve the status quo pending
appeal.” Cullman Ventures, Inc., 1989 WL 94902, at *3; see also Sys. Fed’n No. 91, Ry.
Emp. Dep ’t, AFL-CIO v. Wright, 364 U.S. 642, 647 (1961) (“There is also no dispute but
that a sound judicial discretion may call for the modification of the terms of an injunctive
decree if the circumstances, whether of law or fact, obtaining at the time of its issuance
have changed, or new ones have since arisen. The source of the power to modify is of
course the fact that an injunction often requires continuing supervision by the issuing court
and always a continuing willingness to apply its powers and processes on behalf of the
party who obtained that equitable relief.”); Meinholcl, 34 F.3d at 1480 n.14 (determining
that the district court “did not lack jurisdiction” to issue an “amended order to clarify its
original injunction and to supervise compliance”).

Furthermore, a decision on this clarification motion will not “adjudicate substantial
rights directly involved in the appeal.” Newton, 258 U.S. at 177. The Court finds that an
IJ’s consideration of the subclass members’ financial circumstances and alternatives to
detention is imperative to the effective enforcement of the injunctive relief set forth in its
November l7, 2017 , Decision. Indeed, permitting the calculation of bond without
requiring consideration of the detainee’s ability to pay effectively erodes any legitimate
governmental interests justifying continued detention that are set forth in Zaa'vya’as v.
Davis, 533 U.S. 678 (2001), and Lora v. Shanahan, 804 F.3d 601 (2d Cir. 2015). In light

of Petitioners’ submissions demonstrating that IJ s have not taken these factors into account

_6_

Case 1:17-cv-00721-EAW Document 83 Filed 02/09/18 Page 7 of 30

in several of the Lora-style bond hearings conducted after this Court’s November l7, 2017,
Decision (see Dkt. 67-3), this Court is obligated to clarify what it had assumed went part
and parcel with its original order.

Therefore, the Court has jurisdiction over Petitioners’ motion to clarify
notwithstanding Respondents’ interlocutory appeal of the November l7, 2017, Decision,
pursuant to its inherent authority to supervise compliance with the injunctive relief granted
therein.

II. The Issues Raised in Petitioners’ Motion are Related to the Claims Asserted in
the Amended Petition and the Motion for Preliminarv Iniunction and are
Meritorious
Petitioners contend that, although it is not explicitly stated in the Court’s November

17, 2017, Decision, the preliminary injunction requires IJs, in setting bond, to consider

alternative conditions of release as well as the detainee’s ability to pay once the IJ has

determined that release is appropriate Petitioners ask the Court to clarify as much. (Dkt.

67-1 at 12). Respondents argue that Petitioners are not asking for clarification of the

preliminary injunction, but rather are seeking entirely new relief based on facts that

occurred only after this Court issued the preliminary injunction, (Dkt. 76 at 9). According
to Respondents, Petitioners have raised new claims and facts that are beyond the scope of
the amended petition, are outside the requirements of the preliminary injunction, and are
unrelated to the requirements that the Second Circuit imposed in Lora, the case on which
this Court largely based the bond portion of its preliminary injunction decision. (Ia'. at 10).

Respondents further argue that the requested relief would not have been available to

Petitioners even if raised in their motion for a preliminary injunction, because there is no

_7_

Case 1:17-cv-00721-EAW Document 83 Filed 02/09/18 Page 8 of 30

v

relationship between the injury claimed here and the conduct that gave rise to the petition.
(Ia’. at 10-11).

Respondents also argue, in the alternative, that Petitioners’ motion for clarification
fails on the merits because there is no requirement that an IJ consider an asylum-seeker’s
ability to pay or alternatives to detention in setting bail. (Id. at 15-17). Respondents take
the position that an IJ may consider an alien’s ability to pay, as well as alternative
conditions of release, but that there is no Supreme Court, Second Circuit, or Board of
Immigration Appeals (“BIA”) precedent that requires the IJ to do so. (la'. at 15). Because
the Court’s resolution of that argument is inextricably linked with Respondents’ argument
that the relief requested in the motion for clarification is outside the scope of the
preliminary injunction and the amended petition, the Court will address those arguments
together.

In its November l7, 2017, Decision, the Court ordered Respondents to provide
members of the class who have been detained for six months or more with individualized
bond hearings, in conformance with Lora. (Dkt. 56 at 66). The Court found persuasive
the reasoning of the majority of the courts in this Circuit, as Well as the reasoning
articulated by the Ninth Circuit in Rodriguez v. Robbz`ns, 715 F.3d 1127 (9th Cir. 2013)
(“Roa’riguez II”), and Rodriguez v. Robbins, 804 F.3d 1060 (9th Cir. 2015) (“Roa’riguez
III”). (Ia'. at 30). That case law recognizes that prolonged detention is permissible only
when it serves legitimate governmental interests. The failure to consider alternative
conditions of release and ability to pay undermines the connection between the bond

amount and the legitimate governmental interests that might weigh against release.

_3_

Case 1:17-cv-00721-EAW Document 83 Filed 02/09/18 Page 9 of 30

Accordingly, for the following reasons, the Court now concludes that implicit in its
November 17, 2017 , Decision is a requirement that once an IJ has determined that release
is appropriate and bond should be set, the IJ must consider the detainee’s ability to pay, as
well as alternative conditions of release, in setting the amount of bond. Thus, Petitioners’
motion to clarify does not raise new claims and facts beyond the scope of the amended
petition.

In Lora, the Second Circuit held that, “in order to avoid serious constitutional
concerns raised by indefinite detention, an immigrant detained pursuant to [8 U.S.C.
§ 1226(c)] must be afforded a bail hearing before an immigration judge within six months
of his or her detention.” 804 F.3d at 616. The court quoted Justice Kennedy’s concurrence
in Demore v. Kim, 538 U.S. 510, 532-33 (2003), which observed that, “[w]ere there to be
an unreasonable delay by the [govemment] in pursuing and completing deportation
proceedings, it could become necessary then to inquire whether the detention is not to
facilitate deportation, or to protect against risk of flight or dangerousness, but to incarcerate
for other reasons.” Lora, 804 F.3d at 613 (alteration in original). After Lora, the majority
of district courts in this Circuit, including this Court, determined that prolonged detention
of an asylum-seeker held under 8 U.S.C. § 1225(b) raises similar concerns and therefore
interpreted Lora to extend to cases pertaining to the detention of asylum-seekers held under
that statute. (See Dkt. 56 at 27-28 (gathering cases)).

The court in Lora did not address the question of whether an IJ, in setting bond,
must consider a detainee’s ability to pay, and neither did most of the district courts that

subsequently relied on Lora. However, a district judge in the Southern District of New

-9-

Case 1:17-cv-00721-EAW Document 83 Filed 02/09/18 Page 10 of 30

York answered that question in a ruling from the bench, interpreting Lora to require that
“an immigration judge . . . consider a detainee’s financial circumstances in setting bail.”
Transcript of Oral Argument at 8, Celestin v. Decker, 17 Civ. 2419 (S.D.N.Y. June 14,
2017). The Celestin court reasoned that “setting bond in an amount a person cannot pay
would essentially be a denial of bond,” and “[d]enial of bond not due to evidence that the
immigrant poses a risk of flight or a risk of danger to the community contravenes the
mandates and the logic of Lora. . . .” Id.; see also Leslie v. Hola’er, 865 F. Supp. 2d 627,
630 n.1 (M.D. Pa. 2012) (stating imposition of bail which the agency knows cannot be met
is tantamount to detention). The Celestin court further noted that the “failure to consider
[ability to pay] creates a significant risk that detainees will be deprived of liberty solely
based on indigence,” Transcript of ()ral Argument at 8, Celestz'n, 17 Civ. 2419, which is
prohibited in the criminal context, see Willl'ams v. Illinois, 399 U.S. 235, 244 (1970)
(holding “that the Equal Protection Clause of the Fourteenth Amendment requires that the
statutory ceiling placed on imprisonment for any substantive offense be the same for all
defendants irrespective of their economic status”); see also Beara'en v. Georgia, 461 U.S.
660, 668 (1983) (holding it is “fundamentally unfair to revoke probation automatically
without considering whether adequate alternative methods of punishing the defendant are
available” when the defendant cannot pay his fine or restitution “through no fault of his
own”); Pugh v. Rainwater, 572 F.2d 1053, 1058 (5th Cir. 1978) (holding detention of an
indigent “for inability to post money bail” is impermissible if the individual’s “appearance
at trial could reasonably be assured by one of the alternate forms of release”); Coleman v.

Hennessy, No. 17-CV-06503-EMC, 2018 WL 541091, at *1 (N.D. Cal. Jan. 5, 2018)
- 1() _

Case 1:17-cv-00721-EAW Document 83 Filed 02/09/18 Page 11 of 30

(holding state court erred in “failing to inquire into [the petitioner’s] ability to pay the
$200,000 bond” or other alternatives to pretrial incarceration); United States v. Polouizzz`,
697 F. Supp. 2d 381, 388 (E.D.N.Y. 2010) (“The Supreme Court has defined ‘excessive
bail’ under the Eighth Amendment as ‘bail set at a figure higher than an amount reasonably
calculated to fulfill [its] purpose.”’ (quoting Stack v. Boyle, 342 U.S. 1 (1951))); Lyman v.
Cizy of Albany, 536 F. Supp. 2d 242, 251 (N.D.N.Y. 2008) (bail not excessive where
amount was set at $400 and the plaintiff was able to secure release on bail on day of arrest).

In reaching its conclusion, the court in Celestz'n cited the Ninth Circuit’s decision in
Roa’riguez III. Transcript of 0ral Argument at 11, Celestin, 17 Civ. 2419. In that case, the
Ninth Circuit considered whether the district court had erroneously held_in its order
entering a permanent injunction-that immigration judges must consider alternatives to
detention in setting the amount of bond. Roa’riguez III, 804 F.2d at 1087. The court
affirmed the permanent injunction and stated that the immigration judge “must decide
whether any restrictions short of detention would further the government’s interest in
continued detention.” Ia'. at 1088.

More recently, in Hernandez v. Sessions, 872 F.3d 976 (9th Cir. 2017), decided in
October 2017, the government appealed the district court’s grant of a preliminary
injunction against the government’s policy of failing to consider a detainee’s financial
circumstances in setting the amount of a bond or non-monetary alternative conditions of
release, Ia’. at 982. The Ninth Circuit affirrned, explaining that the detainees had been
determined to be “neither dangerous nor so great a flight risk as to require detention without

bond,” and held that, under those circumstances, “consideration of the detainees’ financial

_11_

Case 1:17-cv-00721-EAW Document 83 Filed 02/09/18 Page 12 of 30

circumstances, as well as of possible alternative release conditions,” is “necessary to ensure
that the conditions of their release will be reasonably related to the governmental interest
in ensuring their appearance at future hearings.” Ia’. at 990-91. The court acknowledged
the government’s “legitimate interests in protecting the public and in ensuring that
noncitizens in removal proceedings appear for hearings” but cautioned that “any detention
incidental to removal must ‘bear[] [a] reasonable relation to [its] purpose.”’ Ia’. at 990
(quoting Zaa'vydas, 533 U.S. at 690). The court then made the following observation:
Since the government’s purpose in conditioning release on the posting of a
bond in a certain amount is “to provide enough incentive” for released
detainees to appear in the future, we cannot understand why it would ever
refuse to consider financial circumstances: the amount of bond that is
reasonably likely to secure the appearance of an indigent person obviously
differs from the amount that is reasonably likely to secure a wealthy person’s
appearance
Ia’. at 991.
Respondents argue that Hernana’ez is distinguishable because that case involved a
class of aliens detained under § 1226(a).2 (See Dkt. 76 at 16-17 n.6). In Lora, the Second

Circuit interpreted a different statute_§ 1226(c)--to contain an implicit time restriction

of six months, after which an alien detained under that provision is entitled to a bond

 

2 Section 1226 “regulates the detention of aliens who are facing removal due to past

criminal convictions Generally, immigration detention is authorized by § 1226(a), which
provides for individualized review of detention decisions. Aliens detained pursuant to
§ 1226(a) may be released on bond or conditional parole while their immigration case is
resolved.” Figueroa v. Aviles, No. 14 Civ. 9360(AT)(HBP), 2015 WL 464168, at *1
(S.D.N.Y. Jan. 29, 2015); see Guerra v. Shanahan, 831 F.3d 59, 62 (2d Cir. 2016) (“8
U.S.C. § 1226(a) authorizes the detention of an alien ‘pending a decision on whether the
alien is to be removed from the United States’; under this section, ICE may detain an alien
or release him subject to parole or a bond. If ICE elects to detain the alien, the alien may
request a bond hearing before an IJ.” (quoting 8 C.F.R. § 1236.1(d)(1))).

_12_

Case 1:17-cv-00721-EAW Document 83 Filed 02/09/18 Page 13 of 30

hearing, “in order to avoid the constitutional concerns raised by indefinite detention.”
Lora, 804 F.3d at 616. Unlike Lora, the holding in Hernana’ez is based directly on the
dictates of due process rather than the constitutional avoidance doctrine. See Hernana’ez,
872 F.3d at 982 n.4 (“The § 1226(a) claim is presented exclusively in terms of
constitutional avoidance, a doctrine which is inapplicable here.”).

As this Court noted in its November 17, 2017, Decision, the constitutional rights of
the asylum-seekers at issue in the instant matter are limited. (Dkt. 56 at 66); see Lana'on v.
Plasencia, 459 U.S. 21, 32 (1982); Correa v. Thornburgh, 901 F.2d 1166, 1171 n.5 (2d
Cir. 1990). However, the Court also determined that because both non-resident arriving
aliens and lawful permanent residents (“LPRS”) can be detained under § 1225(b), the
constitutional avoidance doctrine requires Lora-style bond hearings for aliens detained
under § 1225(b) in order to avoid “serious constitutional concems.” (Dkt. 56 at 63).
Accordingly, Respondents’ argument that Hernana’ez is distinguishable because it
addressed a class of aliens detained under § 1226(a) is inconsistent with this Court’s
determination in its November 17, 2017, Decision. The same due process concerns
implicated by a detainee’s prolonged detention under § 1226(a) are also raised by an LPR’s
prolonged detention under § 1225(b). See Nguti v. Sessions, 259 F. Supp. 3d 6, 14
(W.D.N.Y. 2017) (applying Lora to § 1226(a) and relying on decisions applying the
constitutional avoidance doctrine to extend Lora to detention pursuant to § 1225(b) to
“confirm th[e c]ourt’s conclusions”), appeal withdrawn, No. 17-2086, 2018 WL 286590
(2d Cir. Jan. 3, 2018); see also Brevz`l v. Jones, No. 17 Civ. 1529 (LTS) (GWG), 2018 WL

514670, at *6 (S.D.N.Y. Jan. 22, 2018) (noting that the govemment’s argument that Lora
_ 13 _

Case 1:17-cv-00721-EAW Document 83 Filed 02/09/18 Page 14 of 30

did not apply to § 1226(a) “ignores the Second Circuit’s express adoption of the Ninth
Circuit’s due process analysis in [Roa’rz'guez II], a case which extended Lora-like
procedural protections to § 1226(c) detainees after doing so for § 1226(a) detainees”). By
extension, in clarifying its original preliminary injunction order, the Court finds that the
constitutional avoidance doctrine mandates that the Court construe § 1225(b) in a similar
manner here. In other words, the Court clarifies the November 17, 2017, Decision to
“avoid” the due process concerns discussed in Hernana’ez, which are equally applicable to
detentions pursuant to § 1225(b).

Next, Respondents contend that this Court should not require IJ s to consider ability
to pay and alternative conditions of release because IJ s have significant discretion in setting
bond. They primarily cite to BIA cases to support their position. In Matter of Guerra, 24
I. & N. Dec. 37, 40 (BIA 2006)_the leading BIA case on this issue-the BIA explained
that “[a]n Immigration Judge has broad discretion in deciding the factors that he or she may
consider in custody redeterminations.” See also 8 C.F.R. § 1003.19(d) (“The determination
of the Immigration Judge as to custody status or bond may be based upon any information
that is available to the Immigration Judge or that is presented to him or her by the alien or
[ICE].”). Those factors “may include any or all of the following”:

(1) whether the alien has a fixed address in the United States; (2) the alien’s

length of residence in the United States; (3) the alien’s family ties in the

United States, and whether they may entitle the alien to reside permanently

in the United States in the future; (4) the alien’s employment history; (5) the

alien’s record of appearance in court; (6) the alien’s criminal record,

including the extensiveness of criminal activity, the recency of such activity,

and the seriousness of the offenses; (7) the alien’s history of immigration
violations; (8) any attempts by the alien to flee prosecution or otherwise

_14_

Case 1:17-cv-00721-EAW Document 83 Filed 02/09/18 Page 15 of 30

escape from authorities; and (9) the alien’s manner of entry to the United
States.

Guerra, 24 I. & N. Dec. at 40. In Guerra, the BIA concluded that it was reasonable for the
IJ to deny bond on the basis that evidence of the individual’s serious criminal activity,
although it had not resulted in a conviction, outweighed other factors. Ia'.

However, read in their entirety, the BIA cases cited by Respondents support the
notion that IJs should consider ability to pay and alternative conditions of release in setting
bond. Although the BIA certainly has not required IJs to consider ability to pay (see
administrative exhaustion section, below), based on its discussion of the factors that IJs
should consider, coupled with the Second Circuit’s decision in Lora, the Court concludes
that it is reasonable to hold that IJ s must consider the detainee’s financial situation in setting
bond.

In Guerra, the BIA explained that “Immigration Judges may look to a number of
factors in determining whether an alien merits release from bond, as well as the amount of
bond that is appropriate.” Ia’. (emphasis added). In Matter of Urena, 25 I. & N. Dec. 140
(BIA 2009), the BIA explained that the “setting of bond is designed to ensure an alien’s
presence at proceedings.” Ia’. at 141. Once the detainee has established that he “would not
pose a danger to property or persons,” the IJ “~decide[S] the amount of bond necessary to
ensure the [individual’s] presence at proceedings” in the future Ia'. at 141-42. Those cases
suggest that IJs have significant discretion to determine whether release on bond is

appropriate Once such a determination is made, the IJ’s next task is to set bond in an

_15_

Case 1:17-cv-00721-EAW Document 83 Filed 02/09/18 Page 16 of 30

amount that is “appropriate” and “necessary” to effectuate the government’s interest in
deterring flight while protecting the detainee’s liberty interests.

Although most of the factors that IJs consider in making bond determinations are
discretionary, the Court concludes that once an IJ determines that release of the detainee is
appropriate an IJ must consider ability to pay and alternative conditions of release in
setting bond for an individual detained under § 1225(b). Constitutional concerns compel
that conclusion. As the Ninth Circuit explained in Hernana’ez, “[w]hile the temporary
detention of non-citizens may sometimes be justified by concerns about public safety or
flight risk, the govemment’s discretion to incarcerate non-citizens is always constrained by
the requirements of due process: no person may be imprisoned merely on account of his

,

poverty.’ 872 F.3d at 981. As explained above, the constitutional avoidance doctrine
requires the Court to reach the same conclusion in the context of the detention of a non-
citizen asylum-seeker pursuant to § 1225(b).

The cases cited by both Petitioners and Respondents make clear that the'purpose of
bond is to effectuate the govemment’s legitimate purpose of ensuring the detainee’s
presence at future hearings, and that there must be a connection between the bond amount
and that purpose When a judge fails to consider ability to pay and alternative conditions
of release and sets a bond amount plainly outside the reach of an individual’s financial
resources, such a decision amounts, for all practical purposes, to a denial of bond. The
Court rejects Respondents’ argument that Petitioners are requesting relief beyond

clarification of the preliminary injunction, Petitioners have brought to the Court’s attention

conduct on the part of Respondents that amounts to a denial of bond for reasons estranged

_16_

Case 1:17-cv-00721-EAW Document 83 Filed 02/09/18 Page 17 of 30

from the government’s interest in mitigating the risk of flight or danger to the community.
As the court recognized in Celestin, denial of bond under such circumstances “contravenes
the mandates and the logic of Lora.” Transcript of Oral Argument at 8, Celestz`n, 17 Civ.
2419. For the reasons explained above, an IJ’s failure to consider ability to pay and
alternative conditions of release in setting bond also raises serious due process concerns.

The Court concludes that a requirement that IJs consider ability to pay and
alternative conditions of release in setting the bond amount is implicit in the November 17,
2017, Decision. Because Lora and the Due Process Clause require such considerations,
Petitioners’ motion for clarification does not raise new claims and facts beyond the scope
of the amended petition and the preliminary injunction,

II. Petitioners’ Motion is not Barred bv 8 U.S.C. §1226(e), and Petitioners are not
Reguired to Satisfv Administrative Exhaustion Requirements

A. Section 1226(c) Does Not Preclude Petitioners’ Motion

Respondents argue that Petitioners’ request for clarification is barred by 8 U.S.C.
§ 1226(e) because “an immigration judge’s bond determination is not subject to judicial
review.” (Dkt. 76 at 11). Section 1226(e) provides that “[n]o court may set aside any
action or decision by the Attomey General under this section regarding the detention or
release of any alien or the grant, revocation, or denial of bond or parole.” “Although 8
U.S.C. § 1226(c) bars judicial review of certain ‘discretionary judgment[s],’ that section
does not deprive the Court of jurisdiction over [a detainee’s] constitutional and statutory
challenges to his detention.” Gora’on v. Shanalzan, No. 15 CV. 261, 2015 WL 1176706, at

*2 (S.D.N.Y. Mar. 13, 2015); see Bogle v. DuBois, 236 F. Supp. 3d 820, 822 (S.D.N.Y.

_17_

Case 1:17-cv-00721-EAW Document 83 Filed 02/09/18 Page 18 of 30

2017) (“If he were merely disputing the IJ’s judgment, judicial review would be barred
under 8 U.S.C. § 1226(e), which provides that the Attorney General’s detention decisions
are not subject to judicial review and may not be set aside by a court.”).

Respondents mischaracterize Petitioners’ request for relief. Petitioners are not
seeking judicial review of the IJs’ decisions; rather, Petitioners ask this Court to clarify
whether, per the Court’s November l7, 2017, Decision, an IJ, once he or she has
determined that release on bond is appropriate must consider the financial circumstances
of each subclass member and alternatives to detention in setting the amount of bond. (See
Dkt. 67-1). In other words, the question is not whether the IJ could or should have
considered those factors in setting the amount of bond, but whether the IJ must have done
so to properly carry out the Lora-style hearings required by this Court’s preliminary
injunction. This request does not challenge a “discretionary judgment” encompassed by
§ 1226(e). Demore, 538 U.S. at 516. Rather, Petitioners are either entitled to these
considerations pursuant to this Court’s interpretation of the bond hearing requirement
implicit in 8 U.S.C. § 1225(b), or they are not. Since the Court premised its November 17,
2017, Decision upon the constitutional avoidance doctrine, Petitioners’ current motion to
clarify seeks to vindicate these statutorily-derived process rights, and thus falls outside the
scope of § 1226(e).

At oral argument, Respondents’ counsel represented that the transcripts of the IJ
bond hearings demonstrated that Petitioners had raised the issues of alternative release
conditions and ability to pay at the Lora bond hearings, and thus, to the extent the issue

was raised, the Court is without jurisdiction to review this application Petitioners’ counsel

-18-

Case 1:17-cv-00721-EAW Document 83 Filed 02/09/18 Page 19 of 30

responded that the IJs presiding over the Lora bond hearings did not inquire into these
issues, and rejected counsel’s attempts to request reconsideration of the bond amount on
this ground once the bond amount was set. (See Dkt. 67-4).

As noted above, Respondents have filed transcripts from the Lora-style bond
hearings of five subclass members The Court has reviewed those transcripts and has
determined that Petitioners raised the issue of whether the respective subclass members
could afford the bond amount at several of these hearings However, the question of
whether that issue was “raised” is wholly different from the question of whether the IJ gave
it meaningful consideration. In setting the bond amount in each case, the IJ made no
mention of the detainee’s ability to pay the bond. Accordingly, the Court does not find that
the submitted transcripts rebut Petitioners’ contention that the IJ s did not consider
alternative conditions of release or the subclass members’ financial circumstances in
setting the bond amount.

Therefore, the Court concludes that § 1226(e) does not bar the relief sought by
Petitioners’ motion to clarify.

B. Petitioners Were Not Required to Exhaust Administrative Remedies

Respondents contend that even if § 1226(e) does not operate as a bar to Petitioners’
request for relief, Petitioners are foreclosed from making this motion because they have
failed to exhaust their administrative remedies (Dkt. 76 at 12-15). In reply, Petitioners
argue that the doctrine of administrative exhaustion is not applicable to their motion for

clarification, and, even if it were, any failure to exhaust administrative remedies should be

_19_

Case 1:17-cv-00721-EAW Document 83 Filed 02/09/18 Page 20 of 30

excused because exhaustion would have been futile (Dkt. 78 at 10-12). The Court agrees
with Petitioners in both respects

l. Petitioners’ Request for Clarif`lcation is Appropriately Before
this Court in the First Instance

Petitioners’ reply papers rely upon the recent decision in Enoh v. Sessions, No. 16-
CV-85(LJV), 2017 WL 2080278 (W.D.N.Y. May 15, 2017), appeal withdrawn, No. l7-
1236, 2017 WL 6947858 (2d Cir. Dec. 7, 2017), in which the district court had previously
issued a “conditional order” upon the petitioner’s habeas petition requiring “the
government to comply with certain conditions, including providing the petitioner with a
Lora bond hearing. . . .” Id. at *2. After a bond hearing was held--and the petitioner was
denied bond-he returned to federal court, claiming that the IJ had applied the wrong legal
standard of proof during the hearing. Id. at *1. Ultimately, the district court reached the
merits of the petitioner’s claim, concluding that “the IJ failed to apply the clear and
convincing standard.” Ia’. at *10. The district court also concluded that the petitioner was
not required to exhaust his administrative remedies Although the petitioner had appealed
his denial of release on bond to the BIA, the court recognized that the petitioner’s
application challenged the government’s compliance with the prior conditional writ order,
which did not raise any new claim in federal court. Ia’. at *3. As the district court aptly
stated, “if exhaustion or a new petition Were required simply to challenge compliance with
an order requiring a Lora bond hearing, it would result in the very harm that Lora should
prevent: ‘prolonged’ detention without due process during lengthy and backlogged

removal proceedings.” Icl.; see Argueta Anaril)a v. Shanahan, No. 16-CV-1928 (KBF),

_20_

Case 1:17-cv-00721-EAW Document 83 Filed 02/09/18 Page 21 of 30

2017 WL 3172765, at *4 n.3 (S.D.N.Y. July 26, 2017) (stating that exhaustion of
administrative remedies was not required where the petitioner challenged the adequacy of
the Lora bond hearing that had been previously ordered by the court).

The Court finds the Enoh court’S rationale equally applicable to the instant matter.
Here, as already noted above, Petitioners’ motion does not raise any new claim for relief.
Petitioners have merely challenged Respondents’ compliance with this Court’s November
l7, 2017, Decision by requesting explicit clarification of its scope and effect. Without
question, this Court has jurisdiction to clarify its own orders See Meinhold, 34 F.3d at
1480 n.14; Wash. Metro. Area Transit Comm ’n, 985 F. Supp. 2d at 29; see also Sys. Fed’n
No. 91, Ry. Emp. Dep’t, AFL-CIO, 364 U.S. at 647; Cullman Ventures, Inc., 1989 WL
94902, at *3. Requiring Petitioners to appeal a bond determination to the BIA in order to
argue that the IJ misinterpreted the scope and effect of this Court’s own November l7,
2017, Decision would not serve any of the purposes of administrative exhaustion. See
Beharry v. Ashcroft, 329 F.3d 51, 62 (2d Cir. 2003), as amended (July 24, 2003) (noting
that the purposes of the “judicial exhaustion doctrine . . . include protecting the authority
of administrative agencies, limiting interference in agency affairs, developing the factual
record to make judicial review more efficient, and resolving issues to render judicial review
unnecessary”). Indeed, it would be fair to conclude that such a requirement would only
serve to undermine the principles of due process outlined in Lora, see Enoh, 2017 WL
2080278, at *3_the very same conceptual underpinnings that form the foundation of this

Court’s November 17, 2017, Decision.

_21_

Case 1:17-cv-00721-EAW Document 83 Filed 02/09/18 Page 22 of 30

Therefore, because Petitioners do not raise any new claims in this action,
administrative exhaustion is not required before this Court can entertain a motion
requesting that it clarify its own prior grant of injunctive relief.

2. In the Alternative, Administrative Exhaustion is Excused Due to
Futility

“There is no statutory requirement of administrative exhaustion before immigration
detention may be challenged in federal court by a writ of habeas corpus; however, such
exhaustion is generally required as a prudential matter.” Paz Nativi v. Shanahan, No. 16-
CV-8496 (JPO), 2017 WL 281751, at *1 (S.D.N.Y. Jan. 23, 2017) (citing Araujo-Cortes
v. Shanahan, 35 F. Supp. 3d 533, 538 (S.D.N.Y. 2014)); see 8 C.F.R. § 1236.1(d)(3) (“An
appeal relating to bond and custody determinations may be filed to the Board of

immigration Appeals. . . .”). Where, as here, “an exhaustion requirement is judicially
imposed instead of statutorily imposed, a number of exceptions apply that allow courts to
excuse a party~’s failure to exhaust administrative remedies.” Beharry, 329 F.3d at 62.
Exemption from prudential administrative exhaustion requirements is permitted where
“‘(1) available remedies provide no genuine opportunity for adequate relief; (2) irreparable
injury may occur without immediate judicial relief; (3) administrative appeal would be
futile; and (4) in certain instances a plaintiff has raised a substantial constitutional
question.”’ Id. (quotingAble v. United States, 88 F.3d 1280, 1288 (2d Cir. 1996)).
Indeed, “courts may waive a judicially created exhaustion requirement where

pursuing administrative remedies would be futile or where the agency has predetermined

the issue before it.” Araujo-Cortes, 35 F. Supp. 3d at 538; see Cave v. E. Meadow Union

_22_

Case 1:17-cv-00721-EAW Document 83 Filed 02/09/18 Page 23 of 30

Free Sch. Dist. , 514 F.3d 240, 249 (2d Cir. 2008) (“The exhaustion requirement is excused
when exhaustion would be futile because the administrative procedures do not provide an
adequate remedy.”). Where the pursuit of “available administrative remedies would be
futile, the purposes behind the requirement of exhaustion are no longer served, and thus a
court will release the [petitioner] from the requirement.” Kennedy v. Empire Blue Cross
& Blue Shield, 989 F.2d 588, 594 (2d Cir. 1993).

The Court finds that even if Petitioners were required to exhaust their administrative
remedies, their failure to do so is excused because exhaustion would be futile The Ninth
Circuit was recently faced with the same question in Hernandez. In that case, the court
determined that the BIA had previously held that a detainee’s ability to pay the bond
amount was not relevant to the bond calculation. Hernandez, 872 F.3d at 989. Based on
a review of several BIA decisions, this Court agrees that the BlA has predetermined that a
detainee’s financial circumstances is not a required consideration when setting the bond
amount. See In Re.' Manuel Balbuena Rivera A.K.A. Manuel Rivera-Balbuena, A091 878
213, 2010 WL 691275, at *1 (BIA Feb. 16, 2010) (“[T]he test for determining the proper
bond amount is not whether the respondent is financially capable of posting bond, but
whether the amount of bond is reasonably calculated to assure his appearance for future
proceedings or, if necessary, for removal.”); In re Castillo-Cajura, A089 853 733, 2009
WL 3063742, at *1 (BIA Sept. 10, 2009) (“[A]n alien’s ability to pay the bond amount is
not a relevant bond determination factor.”); In Re.' Marz'o Sandoval-Gomez, A092 563 965,
2008 WL 5477710, at *1 (BIA Dec. 15, 2008) (same). Moreover, Hernandez also notes

an Immigration Judge is not

S¢‘

that another recent unpublished BIA decision indicates that

_23_

Case 1:17-cv-00721-EAW Document 83 Filed 02/09/18 Page 24 of 30

required to consider an alien’s ability to pay when setting a bond.”’ Hernandez, 872 F.3d
at 1003 n.15; see Araujo-Cortes, 35 F. Supp. 3d at 538 (finding that an appeal to the BIA
would have been futile where the BIA had rejected the petitioner’s arguments in prior
cases); Sulayao v. Shanahan, No. 09 Civ.7347(PKC), 2009 WL 3003188, at *3 (S.D.N.Y.
Sept. 15, 2009) (“Appealing this decision to the BIA would be futile because the ‘BIA
recently reaffirmed the interpretation of section 1226(c) which subjects aliens like
petitioner to mandatory detention.”); see also Rivera v. Holder, 307 F.R.D. 539, 552 (W.D.
Wash. 2015) (finding that “[o]ther courts have found unpublished BIA holdings highly
probative of whether the Board has come to a decision on an issue”).

The Court recognizes that the district court in Paz Nativi v. Shanahan, No. 16-CV-
8496 (JPO), 2017 WL 281751 (S.D.N.Y. Jan. 23, 2017), reached the opposite conclusion.
In that case, the petitioner also argued that the exhaustion of administrative remedies would
be futile, citing “several BIA decisions rejecting the relevance of ability-to-pay
considerations in bond determinations.” Id. at *2. However, the district court was
persuaded by the respondents’ citation to “multiple cases in which the BIA has reduced
bond amounts on appeal,” and the fact that the factors used in calculating bond amounts
are “nonexclusive”; thus, the “ability to pay” could be reviewed by the BIA in determining
whether bond is excessive Id. However, Paz Nativz' is distinguishable from the
circumstances of the present action.

Unlike Paz Natz'vi, where the court ruled directly upon the petitioner’s habeas
petition and request for injunctive relief, the unique procedural posture of Petitioners’

motion undermines the necessity of prudential administrative exhaustion. Here, Petitioners

_24_

Case 1:17-cv-00721-EAW Document 83 Filed 02/09/18 Page 25 of 30

seek clarification of an existing preliminary injunction order issued by this Court. (Dkt.
67). lt would be counterintuitive to require Petitioners to appeal a bond determination to
the BIA in order to argue, in the first instance, that the IJ misinterpreted the scope and
effect of this Court’s own November 17, 2017, Decision. As stated above, such a
requirement would not serve any of the purposes of prudential exhaustion.

ln addition, the Paz Nativi decision indicates that “the immigration judge relied on
the bond determination factors outlined in [Guerra]; she did not take into account [the
petitioner]’s ability to pay.” Paz Nativi, 2017 WL 281751, at *1. Nowhere in that decision
does the court mention the mandates set forth in Lora. As noted above, Guerra appears to
be the leading BIA decision relating to bond calculations However, while the Guerra
factors may be sufficiently broad to permit the IJ’s consideration of alternatives to
detention and a detainee’s ability to pay, the case law certainly does not require the IJ to
consider those factors See Guerra, 24 I. & N. Dec. at 40. lnstead, the Guerra standard
simply sets forth nine factors that, in the IJ’s “broad discretion,” may or may not receive
consideration in any given instance See id.; see also Hernandez v. Lynch, No. EDCV 16-
00620-JGB (KKx), 2016 WL 7116611, at *29 n.16 (C.D. Cal. Nov. 10, 2016) (“[E]ven if
the ability to pay is a discretionary factor Immigration Judges may consider when
determining bond[,] . . . this is irrelevant to [the p]laintiffs’ contention that both the ability
to pay and alternatives to detention w be considered in bond determinations”), a f ’d sub
nom. Hernandez v. Sessions, 872 F.3d 976 (9th Cir. 2017) (emphasis in original). The
issue presented by Petitioners’ motion is whether Respondents were obligated to take such

considerations into account in setting bond during a Lora-style hearing.

_25_

Case 1:17-cv-00721-EAW Document 83 Filed 02/09/18 Page 26 of 30

Furthermore, to the extent that the Paz Nativi court reasoned that the BIA “could
consider the ability-to-pay issue more broadly” or “could consider ability to pay as a factor
in bond determinations” under the Guerra standard, the BIA decisions cited above
demonstrate that Guerra has not yet been construed so expansively. See Hernandez, 872
F.3d at 1003 n. 15 (rejecting “the govemment’s contention that the cases cited above do not
reflect current policy as well as its speculation that the BIA ‘may decide to further clarify
the Guerra standard”’). In addition, the cases cited by Respondents for the proposition that
the BIA may reduce the amount set for bond do not suggest that the BIA considers a
detainee’s financial circumstances as a relevant factor; rather, they merely reiterate that the
“amount of bond should be reasonably calculated to insure an alien’s presence at future
proceedings” In Re.' Jesus Gomez A.K.A. Carlos Alvarez, A095 811 474, 2010 WL
1607087, at *1 (BIA Mar. 23, 2010) (noting also that bond calculations “should not be used
as a punitive measure”); In Re: Garaycochea, Javier Santiago, A79-616-114, 2006 WL
901383, at *1 (BIA Feb. 22, 2006) (“[A] bond is set by an immigration judge according to
the assessment of the amount needed to motivate the respondent to appear in light of
relevant considerations.”); ln Re.' Mahmoud Mohamed Harkous, A77 070 695, 2004 WL
2943 563, at *1 (BIA Nov. 2, 2004) (reducing the bond as generally excessive “[g]iven the

respondent’s lack of danger to the community and the lack of flight risk”).3

 

3 Respondents do not specifically contend that Petitioners’ argument for the
mandatory consideration of alternative conditions of release should also have been made,
in the first instance, in an appeal before the BIA. However, Respondents take the position
thatle “are not required to consider . . . alternatives to detention when setting bail” as well
as a detainee’s “ability to pay.” (Dkt. 76 at 17 (citing In Re: Luis Navarro-Solajo A.K.A.
Luis Solajo-Navarro A.K.A. Solano Solao-Navarro, A087 966 841, 2011 WL 1792597, at

-26_

Case 1:17-cv-00721-EAW Document 83 Filed 02/09/18 Page 27 of 30

Therefore, the Court holds, in the alternative, that Petitioners are excused from
satisfying the prudential administrative exhaustion requirement because any appeal to the
BIA would have been futile in this case

III. Barrios Ramos is Not Precluded From Seeking Clarification of the Court’s
Original Order Under Standing Principles

Respondents argue that Barrios Ramos does not have standing to assert the “new
claims” set forth in Petitioners’ motion because he “has not had a bond hearing” and thus,
“he cannot claim to have suffered the injury that supports Petitioners’ new question for
relief.” (Dkt. 76 at 18). Respondents also argue that Barrios Ramos never had a “personal
interest” in these “new claims,” and thus, the “voluntary cessation exception and inherently
transitory exceptions to the mootness doctrine” are inapplicable (Id at 18 n.7).

To establish standing under Article III of the United States Constitution, “a plaintiff
must, generally speaking, demonstrate that he has suffered ‘injury in fact,’ that the injury
is ‘fairly traceable’ to the actions of the defendant, and that the injury will likely be
redressed by a favorable decision.” Bennett v. Spear, 520 U.S. 154, 162 (1997) (quoting
Lujan v. Defs. of Wildlife, 504 U.S. 555, 560-61 (1992)). “The Second Circuit has stated
that to determine whether a party has standing, the court ‘must look to the facts and

circumstances as they existed at the time [the] suit was initiated.”’ Digizip.com, Inc. v.

 

*1 n.2 (BIA Apr. 13, 2011))). Therefore, it appears that an administrative appeal
contending that alternative conditions of release must have been considered in setting bond
would have been futile as well. See Hernandez, 2016 WL 7116611, at *29 n.16.
Furthermore, for the same reasons stated above regarding the subclass members’ ability to
pay, requiring Petitioners’ request for clarification of this Court’s own November l7, 2017,
Decision to be heard before the BIA in the first instance fails to serve any of the principles
underlying the application of prudential exhaustion See Beharry, 329 F.3d at 62.

_27_

Case 1:17-cv-00721-EAW Document 83 Filed 02/09/18 Page 28 of 30

Verizon Servs. Corp., 139 F. Supp. 3d 670, 675 (S.D.N.Y. 2015) (quoting Etuk v. Slattery,
936 F.2d 1433, 1440-41 (2d Cir. 1991)); see Friends of the Earth, Inc. v. Laidlaw Envtl.
Servs. (TOC), Inc., 528 U.S. 167, 189 (2000) (standing “must exist at the commencement
of the litigation”). The principles of mootness and standing both arise from the “case or
controversy” requirement of Article III. Etuk, 936 F.2d at 1441. “While standing focuses
on the status of the parties when an action is commenced, the mootness doctrine requires
that the plaintiffs’ claims remain alive throughout the course of the proceedings” Id.
Respondents’ standing argument rests upon an erroneous premise: that Petitioners’
motion raises “new claims” separate and apart from those asserted in the amended petition
or the motion for preliminary injunction (Dkt. 76 at 18). As already noted, Petitioners do
not make any new or unrelated requests for relief. At the time this action was commenced,
Barrios Ramos had passed a credible fear interview and had been detained for over six
months (Dkt. 17-1 at 2). As such, the fact that Barrios Ramos has since been released
from custody “has no impact on his standing to seek injunctive relief.” See Hernandez,
2016 WL 7116611, at *12; Clarkson v. Coughlin, 783 F. Supp. 789, 794 & n.5 (S.D.N.Y.
1992) (noting “no dispute” as to whether standing was established at the commencement
of the action where the plaintiff was incarcerated at the time she filed her class action
complaint, and was then paroled); see also Maphorisa v. Dist. Dir., ICE, No. CIV. 3:CV-
09-0298, 2010 WL 598451, at *2 (M.D. Pa. Feb. l7, 2010) (“When a habeas petitioner has
been released from custody after filing a petition, the relevant inquiry becomes whether the
case still presents a case or controversy under Article III, § 2 of the United States

Constitution.” (citing Spencer v. Kemna, 523 U.S. 1, 7 (1998))).
_ 23 _

Case 1:17-cv-00721-EAW Document 83 Filed 02/09/18 Page 29 of 30

Therefore, the Court concludes that Article 111 standing principles do not preclude

Barrios Ramos from asserting the relief sought by Petitioners’ motion to clarify.
CONCLUSION

For the foregoing reasons, Petitioners’ motion for clarification (Dkt. 67) is granted.
The Court clarifies that the November l7, 2017, Decision requires that once an IJ has
determined that a detainee should be released on bond, he or she must consider the financial
circumstances of each subclass member and alternative conditions of release in setting the
amount of bond, Accordingly,

IT IS HEREBY ORDERED that for all subclass members provided a bond hearing
pursuant to this Court’s November 17, 2017, Decision, the IJ, when setting the terms of
any subclass member’s release at a bond hearing, must consider alternative conditions of
release and the individual’s ability to pay; and it is further l

ORDERED, that for those subclass members who have already received a bond
hearing pursuant to the November l7, 2017, Decision, and who remain detained
notwithstanding an 11 ’s determination that release on bond would be appropriate bond
hearings must be recalendared and the record reopened for the 11 to consider alternative
conditions of release and the individual’s ability to pay; and it is further

ORDERED, that counsel for Respondents shall notify Class Counsel of the date and
location of each bond hearing set pursuant to this Decision and Order at least five days in

advance of the hearing.

-29_

Case 1:17-cv-00721-EAW Document 83 Filed 02/09/18 Page 30 of 30

SO ORDERED.

 

ELlZ
ta s District Judge
Dated: February 9, 2018 j
Rochester, New York

-3()_

